                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                                BEAUFORT DIVISION


United States of America,           )
                                    )
          v.                        )                 Criminal No. 9:22-658-RMG
                                    )
Russell Lucius Laffitte,            )
                                    )
              Defendant.            )                 ORDER
                                    )
____________________________________)

       The Court sentenced the Defendant this day, which included the imposition of restitution

in the amount of $3,555,884.80. At the completion of sentencing, the Government moved for the

Court to enjoin the Defendant from transferring or disposing of in any manner certain significant

assets without authorization of the Court to protect the ability of the Government to satisfy

Defendant’s restitution obligations. These assets include (1) Bank of America stock; (2)

Palmetto State Bank stock; (3) funds in a Nelson Mullins escrow account derived from the sale

of 300 Forest Drive; (4) South State Bank 401K/IRAs; (5) Defendant’s interest in the Laffitte

Family Partnership. See, Presentence Report (Dkt. No. 296 at 60-61). Defense counsel advised

the Court that at this time he does not oppose such an injunction and that the state court had

already issued an order prohibiting the disposition of these assets.

       In order to secure the funds necessary for Defendant to satisfy his restitution obligations,

the Court hereby enjoins Defendant from selling, liquidating, or transferring, in whole or in part,

any of the assets listed in the first paragraph above without further order of the Court. The

Court encourages counsel for the Government and the Defendant to confer in an effort to resolve

any disputes regarding the above-mentioned assets. The Court is prepared, as may be necessary,

to address any disputes regarding these assets that the parties are not able to resolve.

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       AND IT IS SO ORDERED.



                                   s/ Richard Mark Gergel
                                   Richard Mark Gergel
                                   United States District Judge



August 1, 2023
Charleston, South Carolina




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